Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 1 of 39 Page ID
                                 #:1262



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  9                                UNITED STATES DISTRICT COURT
 10                              CENTRAL DISTRICT OF CALIFORNIA
 11 Y.Y.G.M. SA d.b.a. BRANDY                            Case No. 2:19-cv-04618-RGK (JPRx)
    MELVILLE, a Swiss corporation,                       Judge: Hon. R. Gary Klausner
 12
                 Plaintiff,                              PLAINTIFF’S SEPARATE
 13                                                      STATEMENT OF
          vs.                                            UNCONTROVERTED FACTS AND
 14                                                      CONCLUSIONS OF LAW IN
    REDBUBBLE, INC., a Delaware                          SUPPORT OF MOTION FOR
 15 corporation,                                         PARTIAL SUMMARY JUDGMENT
 16                      Defendant.                      Date: June 1, 2020
                                                         Time: 9:00 a.m.
 17                                                      Crtrm.: 850
 18
                                                         Pre-Trial Conference:      June 15, 2020
 19                                                      Trial Date:                June 30, 2020
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 21                                     REDACTED VERSION OF
 22                    DOCUMENT PROPOSED TO BE FILED UNDER SEAL
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      1546331 1
                                                    -1-             Case No. 2:19-cv-04618-RGK (JPRx)
                      PLAINTIFF’S SEPARATE STATEMENT OF UNCONTROVERTED FACTS AND
                  CONCLUSIONS OF LAW IN SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 2 of 39 Page ID
                                 #:1263
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 3 of 39 Page ID
                                 #:1264
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 4 of 39 Page ID
                                 #:1265
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 5 of 39 Page ID
                                 #:1266
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 6 of 39 Page ID
                                 #:1267
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 7 of 39 Page ID
                                 #:1268
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 8 of 39 Page ID
                                 #:1269
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 9 of 39 Page ID
                                 #:1270
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 10 of 39 Page ID
                                 #:1271
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 11 of 39 Page ID
                                 #:1272
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 12 of 39 Page ID
                                 #:1273
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 13 of 39 Page ID
                                 #:1274
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 14 of 39 Page ID
                                 #:1275
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 15 of 39 Page ID
                                 #:1276
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 16 of 39 Page ID
                                 #:1277
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 17 of 39 Page ID
                                 #:1278
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 18 of 39 Page ID
                                 #:1279
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 19 of 39 Page ID
                                 #:1280
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 20 of 39 Page ID
                                 #:1281
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 21 of 39 Page ID
                                 #:1282
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 22 of 39 Page ID
                                 #:1283
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 23 of 39 Page ID
                                 #:1284
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 24 of 39 Page ID
                                 #:1285
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 25 of 39 Page ID
                                 #:1286



  1    130. The Federal Court of Australia decided in Hells               Request for Judicial
  2    Angels Motorcycle Corporation (Australia) Pty Limited              Notice, Ex. 1 ¶ 435.
  3    v Redbubble Limited [2019] FCA 355 that: “The
  4    business model as described by Mr Hosking and its
  5    working operation as described by Mr Kovalev makes it
  6    plain that Redbubble is not in the nature of an ISP
  7    linking a user to remote websites. It is not an
  8    intermediary providing a transmission service between
  9    particular participants. It owns, operates, manages and
 10    controls the website and conducts a transactional
 11    enterprise in which it facilitates the uploading of images,
 12    the interrogation of those images in Australia, relevantly,
 13    by users, with a view to enabling sales to consumers of
 14    articles bearing the relevant images. It has a detailed
 15    business model in which it derives revenue from each
 16    transaction and controls every step of the transactional
 17    engagement between an artist and a buyer. It confirms
 18    the sale. It facilitates payment. It organises a fulfiller to
 19    apply the work to the relevant goods. It facilitates
 20    delivery of the goods to the buyer. It generates email
 21    responses which not only confirm the order but track
 22    every step of the transaction. It affixes its own trade
 23    marks to the goods. It says that it does not directly do
 24    that but there is no doubt that an essential part of its
 25    business model is ensuring that fulfillers affix the
 26    Redbubble trade marks to the goods. The labels bearing
 27    the trade marks are on the goods as delivered to each
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      1546331 1
                                                   -25-             Case No. 2:19-cv-04618-RGK (JPRx)
                      PLAINTIFF’S SEPARATE STATEMENT OF UNCONTROVERTED FACTS AND
                  CONCLUSIONS OF LAW IN SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 26 of 39 Page ID
                                 #:1287
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 27 of 39 Page ID
                                 #:1288
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 28 of 39 Page ID
                                 #:1289
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 29 of 39 Page ID
                                 #:1290
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 30 of 39 Page ID
                                 #:1291
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 31 of 39 Page ID
                                 #:1292
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 32 of 39 Page ID
                                 #:1293
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 33 of 39 Page ID
                                 #:1294
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 34 of 39 Page ID
                                 #:1295
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 35 of 39 Page ID
                                 #:1296
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 36 of 39 Page ID
                                 #:1297
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 37 of 39 Page ID
                                 #:1298
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 38 of 39 Page ID
                                 #:1299



  1 authorization used a similar mark likely to cause consumer confusion, deception or
  2 mistake.” Phillip Morris USA Inc. v. Shalabi, 352 F.Supp.2d 1067, 1072-73 (C.D.
  3 Cal. 2004).
  4               3.    Federal registration is “‘prima facie evidence’ of the mark’s validity and
  5 entitles the plaintiff to a ‘strong presumption’ that the mark is a protectable mark.”
  6 Zobmondo Entm’t, LLC v. Falls Media, LLC, 602 F.3d 1108, 1113 (9th Cir. 2010).
  7               4.    Use of a trademark includes the sale, offering for sale, distribution, or
  8 advertising of any goods bearing the mark, as well as the application of the mark on
  9 any advertisements intended to be used in commerce.” 15 U.S.C. § 1114(1)(a), (b).
 10               5.    Counterfeiting is a more specialized case of trademark infringement; a
 11 counterfeit is a spurious mark which is identical with, or substantially
 12 indistinguishable from, a registered mark. UL LLC v. Space Chariot Inc., 250 F.
 13 Supp. 3d 596, 608 (C.D. Cal. 2017).
 14               6.    The following factors determine likelihood of confusion between marks:
 15 (1) the strength of the mark; (2) the proximity of the goods; (3) the similarity of the
 16 marks; (4) evidence of actual confusion; (5) the marketing channels used; (6) the type
 17 of goods and the degree of care likely to be exercised by the purchaser; (7) the
 18 defendant’s intent in selecting the mark; and (8) the likelihood of expansion of the
 19 product lines. S. Cal. Darts, 762 F.3d at 930.
 20               7.    The defendant is liable for contributory trademark infringement if it
 21 continued to supply its services to one whom it knew or had reason to know was
 22 engaging in trademark infringement, and it had direct control and monitoring of the
 23 instrumentality a third party used to infringe the mark. Louis Vuitton Malletier, S.A.
 24 v. Akanoc Solutions, Inc., 658 F.3d 936, 942-43 (9th Cir. 2011).
 25               8.    For purposes of the Lanham Act, willful blindness is equivalent to actual
 26 knowledge. Hard Rock Café Licensing Corp. v. Concession Servs., Inc., 955 F.2d
 27 1143, 1149 (7th Cir. 1992); see also Tiffany (NJ) Inc. v. eBay Inc., 600 F.3d 93, 109-
 28 10 (2d Cir. 2010).
      1546331 1
                                                   -38-             Case No. 2:19-cv-04618-RGK (JPRx)
                      PLAINTIFF’S SEPARATE STATEMENT OF UNCONTROVERTED FACTS AND
                  CONCLUSIONS OF LAW IN SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:19-cv-04618-RGK-JPR Document 36-1 Filed 05/04/20 Page 39 of 39 Page ID
                                 #:1300



  1               9.    The defendant is liable for vicarious trademark infringement if the
  2 defendant and the infringer have an apparent or actual partnership, have authority to
  3 bind one another in transactions with third parties, or exercise joint ownership or
  4 control over the infringing product. Perfect 10, Inc. v. Visa Int’l Serv. Ass’n, 494 F.3d
  5 788, 807-08 (9th Cir. 2007).
  6
  7 DATED: May 4, 2020                           BROWNE GEORGE ROSS LLP
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      1546331 1
                                                   -39-             Case No. 2:19-cv-04618-RGK (JPRx)
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                  CONCLUSIONS OF LAW IN SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT
